

People v Catlett (2021 NY Slip Op 04204)





People v Catlett


2021 NY Slip Op 04204


Decided on July 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 06, 2021

Before: Acosta, P.J., Kapnick, Moulton, Scarpulla, JJ. 


Ind No. 3403/10 Appeal No. 14164 Case No. 2019-1024 

[*1]The People of the State of New York, Respondent,
vDenzel Catlett, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Kerry Fulham of counsel), for respondent.



Judgment, Supreme Court, New York County (Thomas Farber, J.), rendered January 31, 2012, convicting defendant, upon his plea of guilty, of manslaughter in the first degree, and sentencing him to a term of 18 years, unanimously modified, on the law, to the extent of vacating the sentence and remanding for resentencing, and otherwise affirmed.
A remand for resentencing is required, because the court did not make the requisite explicit youthful offender determination on the record at the sentencing (see People v Rudolph, 21 NY3d 497 [2013]; People v Smith, 113 AD3d 453, 454 [1st Dept 2014]). The People's arguments to the contrary, and their request for dismissal of the appeal, are unavailing.
Because we are ordering a new sentencing proceeding, we find it unnecessary to address the remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 6, 2021








